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whose determinant is equal to 4 and is therefore convex. fp is
stated as a quadratic polynomial of one variable with a leading
positive coefficient and therefore is also convex. Because f,
is convex and fy is convex then the generator cost terms
together form a convex function. The demand-bus revenue
terms take the form >°, fa(ha(Vra, Via)). ha is an affine map.
fa isa sum of two quadratic polynomials of onc variable with
a leading positive coefficient and therefore is convex. The
composition of a convex function with an affine map is also
convex. Eqs. 69-73 are all stated in terms of two (separable)
variables and have Hessians whose determinant is equal to 4.
The remaining constraints are all linear and create a convex
polyhedral feasible region. Therefore, they are convex as
well. Because all the constraints are convex and the objec-
tive function is convex, the optimization program is also
convex. Oo

IV. NEWTON-RAPHSON (NR) SOLUTION ALGORITHM
FOR THE IV-ACOPF FORMULATION

This section presents a Newton-Raphson Solution Algorithm
for the unrelaxed TV-ACOPF formulation to global optimality
in polynomial time. First, Theorem | provides a solid founda-
tion upon which to solve the relaxed IV-ACOPF via Newton-
Raphson gradient descent to a candidate solution y!. If yi is
found within the (unrelaxed) feasible Rr, then the algorithm
has found a global solution. If yt is found within the relaxed
region Rp, then it must be discarded as infeasible because the
Rr (as we prove below) is infeasible.

To begin, because the relaxed IV-ACOPF is a convex opti-
mization program and fulfills Slater’s Condition [100], it may
be solved straightforwardly by formulating the Lagrangian,
deriving the first order optimality (KKT - Karush-Kuhn-
Tucker) conditions, and solving using a Newton-Raphson
algorithm. The standard form of a convex optimization
program is:

Minimize .7(x) (79)
st h(x) =0 (80)
g(x) < 0 (81)

where 7(x) and g(x) are convex functions and h(x) is an
affine function. In this work, x = [Veo; Vic; Irc: lic;
Vrp; Vip]. Furthermore, h(x) is represented by Equations
60 - 64 and g(x) is represented by Equations 65 - 76. The
Lagrangian is:

Ly) =f x) + ATA) + wT g(x) (82)

where y = [x; A; 2]. The first order (KKT) optimality condi-
tions follow straightforwardly from VL.

Vi (x) + we? Ve(x) + AT VA(K) = 0 (83)
h(x) =0 (84)

g(x) < 0 (85)

> (86)

wa! g(x) =0 (87)

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where Eq. 83 is the stationarity condition, Eq. 84 and 85
assure primal feasibility, Eq. 86 assures dual feasibility,
and Eq. 87 assures complementary slackness. Finally, the
Newton-Raphson Algorithm 1 is applied with Az as the
k*" iterate of the Hessian of the Lagrangian.

Algorithm 1 Newton-Raphson Minimization Algorithm for
Unrelaxed IV-ACOPF Formulation
1: procedure ACOPF(K = 0, yo, €)
while ||V£(y;)|| < € do
3 Vert <— Ye + Ay | VLO%«)
4 k<-—k+1
5 end while
6: yl <— yx
7:
8
9

ify! ¢ Ry then

yrcyl
i else
10: yi G
11: end if
12: return y+

13: end procedure

Theorem 2: Algorithm 1 converges quadratically to a
globally optimal solution to the unrelaxed IV-ACOPF formu-
lation (defined by Eqs 59-72 and 77) in polynomial-time.

Proof: At a high level, Algorithm 1 is composed of
two subsections. In the first, the While Loop implements the
well-known Newton-Raphson algorithm to produce the can-
didate solution y'. The algorithm has a quadratic convergence
rate [100] and gives a globally optimal solution to convex
optimization problems in polynomial time [110]-[112]. In the
second subsection, a test is made on the candidate solution.
If yt € Re, then the Newton-Raphson algorithm has found
the global optimum. In all other cases, y' € Rez then by
Lemma | (below), Re = @ and the candidate solution yt
must be discarded and an infeasible solution returned instead.
Therefore, Algorithm 1| either finds the globally optimal solu-
tion or infeasible solution in polynomial time. O

Lemma I: If Algorithm 1 returns a candidate solution
yt € Rr, then Rr = @.

Proof: A proof by contradiction is is provided. Assume
that Rr ~ G.

1) First recognize that Algorithm | always returns Iva =
Ve]. Because the objective function must minimize
generator currents Zc without consideration for gener-
ator terminal voltages, the generator terminal voltages,
by Ohm’s Law, must rise to their maximal value.

2) In the meantime, an increase of demand-bus voltage
magnitudes from Vil to a hypothetical value IVs =
|v}, + AVp| where |AVp| > 0 so that |Vp| < [Vp] <
Vol, by Lemma 2 (below), necessitates an increase in
one or more generator voltage magnitudes from IVa to
Vel = |Vi+ AVG|. Because |Vb| = [Wal [Vel > [Val
creates a contradiction where the generator terminal
voltage upper bound is violated.

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Therefore, by contradiction, if yt € Rr, then
Rr =. Td]

The importance of Lemma | to Theorem 2 (as the main
result of the paper) cannot be understated. Because this paper
uses a steady-state current injection model, it has generator
terminal voltages. These generator terminal voltages, in turn,
have upper bounds. Any cffort to move the demand-bus volt-
age magnitudes upwards will require the generator terminal
voltage magnitudes to move upward as well, and beyond their
upper bound values. Therefore, if the demand-bus voltage
magnitudes are lower than the lower bounds, then there is no
way to increase them without violating the generator terminal
voltage upper bounds instead. The reader will recognize that
the argument of the Lemma | proof presented above is built
upon a physical intuition rooted in Ohm’s Law: an increase
in one of more demand-bus voltage magnitudes necessitates
an increase in one or more generator terminal voltage mag-
nitudes. Practicing electrical engineers will recognize this
physical intuition as always true by experience. Nevertheless,
for a purely mathematical argument, this statement is recast
as Lemma 2 below.

Lemma 2: Anincrease of demand-bus voltage magnitudes
from Vil to a hypothetical value IVs = lv, + AVp| where
|AVp| > O necessitates an increase in one or more generator
voltage magnitudes from IVa to IVa = Ive + AVgl.

Proof: A proof by contradiction is provided. First, for
simplicity, Equations 10, 11, 18 and 19 are combined into a
single linear matrix equality over complex numbers

fi, ve Yoc Yop ve

—Tp vi} YpG Ypp vi}
where the bus admittance matrix Y = G + jB is patti-
tioned into Yog = [AL Yr Acl, Yop = [AL Y, Ap], Ypoqg =

[AhYrAc], and Ypp = [A}Y,Ap]. Taking the gradient of
both sides yields:

10" _ 30 70 | lave (89)

0 Ypg Ypp || AVp

If we assume AVg = QO, then 0 = YppAVp. Because
Ypp is invertible, the only solution to this equation is
AVp = 0. |AVp| > 0 is impossible. Therefore, by contra-
diction, a demand bus voltage increment |AVp| > 0 neces-
sitates a generator terminal voltage increment magnitude
|AVg| > 0. Finally, a ‘real-life’? electric power system has
power lines with positive resistances and reactances. There-
fore, Gi, jf) > OVi = fj, Gif) < OWE Aj, BU) <
O Vi = j, and Bi, j) => O Vi A j. Therefore, the direction
of the voltage magnitude increment |AVg| necessitates an
increase one or more generator voltage magnitudes from [vo

to |Vel =|Vi + AVel. Oo

V. NUMERICAL DEMONSTRATION

To demonstrate the profit-maximizing security-constrained
IV-ACOPF, a modified version of the Saadat (1999) transient
stability test case [94] is chosen. The associated one-line

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diagram is shown in Fig. 4. The system consists of three
generator buses (in blue) and three generator lead-lines (in
red), six demand buses (in green) and seven power lines (in
blue). Impedance values have been retained from the original
text, and the current withdrawals at the demand buses are
shown on the figure. Similarly, the minimum and maximum
limits on gencrator current injections arc provided. All bus
voltage magnitudes have a lower bound of 0.9 and upper
bound of 1.1. The voltage stability constraint limits the angle
associated with the current injected to a line between +20°.
A minimum power factor of 0.95 is used to calculate the lower
limit on the demand bus voltage phase angle according to
Eq. 48. The reference bus is chosen to have the largest voltage
phase angle. Therefore, 675° = 0. All provided values are
given per unit. The chosen marginal cost ($/MW) for each
generator and marginal revenue values for each demand-bus
are shown in Table 1.

lentax = 2:95 |patox = 3.35
lum = 1-18 my Z, = 10.20) || Z, = 0.095 + 10.225 | |Z, = 0.000 + j 0.095] , |Z) =1 0-15 ay lea, = 1.94
Inox = -0-108F 1, = 3.11 Tex 34 Vaan = 3-50 WEF liggay = -0.10
|imin = 71-00 lpg = 4.04] 1.0 lamin = 71-00

lente = 2.05

‘pain = 0.82 3 Z,={0.25) , |Z, = 0.000 + j 0.042) e Z, = 0.026 + j 0.175
Ua = 70.10 SF ae = 2.28) pax = 3-4 linac = 3-4

Ian = 1-00 Wi. te 1.0

FIGURE 4. Saadat's (1999) Six Demand-Bus, Three Generator Transient
Stability Test Case [94]. The topological arrangement and impedance
values have been retained. Real and imaginary generator current
injection are shown in green.

oa = 2.5 + 10.5

TABLE 1. Generator & Demand-Bus Revenue Parameters.

Generator OZg Bag a
1 0.2 2 10
2 01125 15 10
3 0.3125 2.5 10
Demand Bus ppg BRa  YrRa_ Pia Bia Yia

1 0.25 22 130 0.025 2.2 13
2 0.30 23 130 0.030 2.3 13
3 0.26 25 130 0.026 2.5 13
4 0.28 30 130 0.028 3.0 13
5
6

0.20 21 130 0.020 2.1 13
0.29 19 130 0.029 1.9 13

These input values constitute moderate loading condi-
tions. Here, the IV-ACOPF optimization program reaches
a global optimum of 7 = $763.79. The associated deci-
sion variables are shown in Figure 5. The generators cur-
rent injections remain well within their real current capacity
constraints. That said, Generator 1 has reached its limit with
respect to its imaginary current capacity. In the meantime,
and as expected, the generator voltage magnitudes are all
situated on their respective upper bounds. This is because the
IV-ACOPF minimizes the cost of generator current injec-
tions but does not depend on generator voltages. Therefore,
generator voltages will tend to rise in order to minimize the
generator currents. At these moderate loading conditions, all

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Vp, =0.970+j0 Vp,=0.945-j0.156 —V,, = 0.965 - j0.064
0.970.0° 0.958.-9.38° 0.967.--8.80°

Ver = 0.990 + | 0.479. Veo = 1.05 + j 0.830
1.1.225.8° 43 o
4 [tur = 0-895 -1-0.004) |, = 2.63 -j-0.568 |

@ 0.695 .0.387° 2.69.-12.1°
Igy = 2.39- j 0.1 2 j0.563
2.40.-2,89° 2.69.-12.1°

Veg = 1.78 + j 0.422
1.1222.6°

1.74.-7.798° B 0.644..-4.3582°

Igg = 1.73 - | 0.237
1.74.2-7.80°

Vpg = 0.957 -j0.009 V,,, = 0.947 -j0.082
0.957..-0.57° 0.950..-4.95°

Vpg = 0.921 - [0.193
0.941 .-11.8°

FIGURE 5. Solution of the IV-ACOPF formulation under moderate loading
conditions.

of the electric power lines (including generator lead lines)
remain unconstrained as well. Finally, all of the demand bus
voltages are well within their voltage magnitude constraints.
This rather “uneventful” scenario, nevertheless, provides an
important result. Under these moderate conditions, the opti-
mum of the relaxed IV-ACOPF is equivalent to the global
optima of the unrelaxed problem. Furthermore, because there
is a tendency towards higher generator terminal voltages,
candidate optimal solutions yt € Rr will tend to occur
only when necessary, and more specifically under relatively
high loading conditions. Reconsider Ohm’s Law in Eq. 14.
Multiplying on both sides by AL and solving for Vp gives:

Vp = —Ai Tp — AoVo (90)

where
A, = (ABY¥rAp) | (91)
Ao = A\ALYAG (92)

In short, the network flow constraints can be rearranged
so that the demand-bus voltages are written in terms of
the demanded currents Zp and the generator terminal volt-
ages Vg. As Tp increases, it pulls down demand bus voltages
with it.

Vp1=0.909+j0 Vp,=0.878 - j0.183
909..0° 0.897 2-11.7°

Vpe = 9.901 - j0.066
0.904..-4.22°
Veo = 1.00 + j 0.433
1.4.223.4°

0
Ver = 0.929 + j 0.588
1.1.282.3°

y= 0.816 -j 0.013 A Ig = 3.33 - 5 0.670
0.816.0.891° 3402-114"

ley = 2.04 -j 0.10
2.94.21.95°

Veg = 0.982 + | 0.49:
1.10..26.6°
oj | tus = 2-05 - | 0.940 |, |, = 0.752 -4 0.07

3 2.08..-9.41° 5 0.644..-4.3582°
= 1.73 - | 0.340

oo. 08..-9.41°
Vos = 0.897 - /0.020 V,,=0.883-j0.106 VV, = 0.849 - j0.236
0.882..-15.5°

0.897..-1.28° 0.889..-6.86"

FIGURE 6. The candidate solution y* of the IV-ACOPF formulation under
high loading conditions. Because the candidate solution violates the
voltage magnitude lower bound constraint, the solution must be
discarded and the optimization problem pronounced as infeasible.

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A second IV-ACOPF scenario that reflects high loading
conditions is now studied. This time, all currents have been
increased by 23.3%. Now the IV-ACOPF optimization pro-
gram reaches an optimum of 7 = $757.56. The associated
decision variables are shown in Figure 6. In this scenario,
Generator 3 has reached its real current capacity limit, while
Gencrators | and 2 respectively are Icss than 1% and 2% away
from their real current inject limits. Generator 1 continues to
reach its imaginary current capacity limit. Again, as expected,
the generator voltage magnitudes are all situated on their
respective upper bounds. At these high loading conditions,
Power Line 4 has reached its thermal capacity limit. Finally,
because of the voltage magnitude relaxation, the voltage
magnitudes for demand buses 3, 4, 5 and 6 are now all below
the safe value of 0.9p.u by 0.299, 0.307, 1.11, and 1.84%
respectively. Therefore, by Lemma 1, this candidate solution
must be discarded and the optimization problem pronounced
as infeasible. Figure 7 visualizes the candidate solution in a
manner similar to that shown in Figure 3.

VI. DISCUSSION: THE IMPORTANCE OF MODELING
DECISIONS

This paper has contributed a profit-maximizing security-
constrained IV-ACOPF formulation as a convex optimiza-
tion program which lends itself to a straightforward globally
optimal solution via a Newton-Raphson algorithm. In so
doing, it has demonstrated several modeling novelties which
this section now discusses. The first decision was to switch
away from PQV@ decision variables to [V decision vari-
ables. A POV@ formulation inevitably introduces non-convex
|Vil|Vj| terms (i A /) in order to calculate the active power P
and reactive power Q variables. Similarly, an /VPQ formula-
tion that mixes current, voltage, active power, and reactive
power variables must inevitably introduce § = Vx«* Z*
constraints which are also non-convex. Therefore, a whole-
hearted flip into IV phasors is required to eliminate these
non-convexities. Similarly, the choice of rectangular coordi-
nates for these phasors rather than polar coordinates avoids
the introduction of non-convex sin(@) and cos(@) terms.
The result is a set of easily managed linear network flow
constraints.

This IV-ACOPF also features a steady-state current injec-
tion model that includes generator terminals and their asso-
ciated lead lines. This modeling decision has two primary
advantages. First, the power flow analysis assumes complex
power injections from generators; that when converted to IV
variables imply that the generators are current sources. This
modeling assumption is physically inconsistent with other
electric machine models and power systems engineering
models where generators are typically modeled as Thevenin-
equivalent voltage sources [108], [113], [114]. The choice
of voltage sources over current sources corrects the under-
lying causality [115], [116] of the system where the genera-
tor’s current is drawn from the network rather than imposed
by the generator. Second, the introduction of the generator
lead lines in the current injection model means that the

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a

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Imaginary Voltage (p.u.)
°

Imaginary Voltage (p.u.)
8 Oo

Imaginary Voltage (p.u.)
Oo

08 0.85 ag 0.95 1 1.05 1.1 41.15 o8 0.85 09 0.95 1 1.05 1.1 1.15 0.8 0.85 0.9 0.95 1 1.05 1.1 1.15
Real Voltage (p.u.) Real Voltage {p.u.} Real Voltage (p.u.)

Demand Bus 1 Demand Bus 2 Demand Bus 3

05 2 0.5 2 0.5

0.5 0.5 0.5

Imaginary Voltage (p.u.)
Oo

Imaginary Voltage (p.u.)
Imaginary Voltage (p.u.)
o

0.8 0.85 ag 0.95 1 1.05 14 41.15 0.8 0.85 0.9 0.95 1 1.05 1.1 1.15 0.8 0.85 0.9 0.95 1 1.05 14 41.15,
Real Voltage (p.u.) Real Voltage {p.u.} Real Voltage (p.u.)
Demand Bus 4 Demand Bus 5 Demand Bus 6
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05 go 05} 05

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Imaginary Voltage (p.u.)
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08 0.85 ag 0.95 1 1.05 1.1 1.15 os 0.85 09 0.95 1 1.05 1.1 1.15 08 0.85 0.9 0.95 1 1.05 1.1 41.15
Real Voltage (p.u.) Real Voltage {p.u.} Real Voltage (p.u.)

FIGURE 7. The candidate nodal voltage solution yt of the IV-ACOPF formulation under high loading conditions is indicated by *. Voltage upper bounds are
shown in red. Voltage lower bounds are shown in blue. Voltage lower bound relaxations are shown in magenta. Power factor upper and lower bounds are
shown in black. Each generator and demand bus is shown. Because the candidate solution violates the voltage magnitude lower bound constraint, the
solution must be discarded, and the optimization problem pronounced as infeasible.

supply-side of the objective function can now be expressed paper are likely to investigate elastic demand formulations.
in terms of generator currents Zg alone and thus avoid the The objective function also monetizes both active and reactive
typical S = Vx Z* non-convexity when IV formulations power. Because traditional ACOPF formulations have been
must ultimately monetize the purchase and sale of active and directed to transmission systems, they have often focused
reactive power. Said differently, the correction of the physical on active power generation and flow and neglected reactive
causality also corrects the mathematical non-convexity. power. In distribution systems, however, the flow of reactive

Along these lines, this IV-ACOPF formulation also takes power is often highly constrained. Therefore, this IV-ACOPF
special care in the design of the objective function. Typical formulation provides the monetary incentive to alleviate these
ACOPF formulations that offer a one-sided cost minimiza- reactive power flow constraints. Furthermore, on the demand
tion (as in Eq. 9) are just a mathematical short-hand for a side, it charges differently for current delivered at one voltage
two-sided profit maximization with inelastic demand as in versus another. In conclusion, the objective function gives
Eq. 1. Nevertheless, the distinction in this work is critical balanced attention to the supply side, the demand side, active
because the explicit inclusion of the demand-side revenue power and reactive power.

terms (even if the demand is inflexible) is instrumental in This IV-ACOPF formulation also pays special attention
the derivation of a convex objective function. Although this to the generator capacity constraints. In that regard, it is
work continues with the traditional assumption of inelas- clear that the original 1962 paper by Carpentier approximates
tic demand, this two-sided formulation indicates that one- the capability curve of synchronous generators; which in

sided market designs are perhaps outdated and that two-sided tum is expressed as a constant voltage multiple of a syn-
markets should become the norm in the context of the 21% chronous generator’s phasor diagram. In order to maintain
century sustainable energy transition. Follow-on works to this consistency of the modeling, this work simply “undoes”

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the multiplication of Vg /Xs but retains the Carpentier’s box
constraints. This avoids several non-convexities from the
synchronous generator’s phasor diagram. It also facilitates a
market design that is agnostic to device physics and treats all
energy resources with the same level playing field; a highly
desirable characteristic in the socio-economic design of an
cquitable clectricity markct.

The choice of exogeneous data in this IV-ACOPF for-
mulation versus a traditional ACOPF is also of particular
importance. The traditional ACOPF provides Sp as exoge-
nous data. When switching to IV variables, this exogeneous
data decision reveals two simultaneous dilemmas. First, and
mathematically, Sp = Vp * Zj, immediately introduces a
constraint of indefinite convexity. Second, and physically,
electric power systems are based upon either voltage or
current causality. Introducing exogeneous complex power
consumption data Sp is a statement of ambiguous causality
of power system physics. When receiving exogeneous data
of complex power withdrawals, a power systems engineer
should ask whether the underlying physics assumed voltage
or current sinks with their associated imposition on causal-
ity. In the unlikely event that the load is a voltage sink,
then the associated demand-bus voltage decision variable
disappears. In contrast, if the load is a current sink (or a
given impedance), then the demand-bus voltage remains as a
decision variable as provided in this IV-ACOPF formulation.
Although, existing ACOPF implementations have amassed
considerable quantities of complex power demand data, the
original source of this data normally collects the associated
current phasor data as well; either from SCADA (Supervi-
sory Control and Data Acquisition) systems or smart meters.
Therefore, the benefits of changing exogeneous data from
Sp to Zp greatly outweigh the relatively modest implemen-
tation effort. Similarly, existing forecasting software which
normally predict Sp can be retooled with historical voltage
phasor data Vp to produce Tp. Alternatively, new forecast-
ing software can predict Zp directly from historical current
phasor data. The implementation steps avoid the use complex
power data with indefinite convexity and ambiguous physical
causality.

Finally, it is important to comment on the equivalence of
this IV-ACOPF to the original ACOPF problem described in
Sec. II.

Theorem 3: Given the optimal vector of demand-bus
voltage phasors Vi the IV-ACOPF formulation defined by
Equation 59-72 and 77 is a generalization of the ACOPF
formulation defined by Equations 1-8 when Pp and 77, are
chosen such that Sp = Vite.

Proof: The equations of the IV-ACOPF are addressed in
tum.
e By the discussion in Section II-C, the objective function
in Eq. 59 is equivalent to Eq. 1 when a7, = a7g = Bre =
Bia =0 VeeG,deD.

e From the proof of Lemma 2, the network flow equa-
tions 60-63 are combined to yield Equation 88. Applying
the definitions of Y;, Ag and Ap to the bottom block-row

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of equations gives:

—Tp = Abc YicAccVe + Ang YicApGVp
+A p¥ipAppVp (93)

Substituting in Ohm’s Law on the lead lines from Eq. 15
and the definition of a bus admittance matrix Yn =
Y¥/»AppVp gives:

—Lp = Ahglie + YppVp (94)

This same result can be confirmed from the power anal-
ysis model by rewriting Equations 2 and 3 in complex
matrix form:

AcpSc — Sp = diag Vp) Yi Vin (95)

and then dividing all terms by diag(Vp). Because Sp
and Zp are exogeneous constants they must be related
by the optimal vector of demand-bus voltage phasors
Vi}. Sp = VAIS.

e By the discussion in Section III-D, the reference angle
constraint in Eq. 64 is equivalent to Eq. 4.

e By the discussion in Section IJI-E, the generator capac-
ity constraints in Equations 65 - 68 are equivalent to
Equations 5 and 6.

e By the discussion in Section III-F, the thermal line flow
constraint in Eq. 69 is equivalent to Eq. 7.

e By the discussion in Section IN-G, the voltage magni-
tude constraints in Equations 73 and 77 are equivalent
to Eq. 8.

e By the discussion in Section III-H, the exogeneous con-
stant Spo = Pp + jQp in the ACOPF is a specific
condition of the power factor upper and lower bounds in
Equations 71 and 72 where 674° = of" and @yp—@rp =
tan~'(Qp/Pp). O

Note that Theorem 3 omits the generator terminal voltage
upper bound because the generator terminals do not appear
in the power flow analysis model of the ACOPF. Their
re-inclusion serves to protect generators from over-voltages.
Similarly, the theorem omits the voltage stability constraints
in Equations 74 and 75 because they do not appear in the
original ACOPF either. Their re-inclusion would protect the
grid from voltage instabilities. Lastly, the voltage magnitude
lower bound relaxation in Eq. 76 is superfluous in the pres-
ence of the more binding voltage magnitude lower bound in
Eq. 77. In other words, and as a significant conclusion of this
paper, when Pp and 77, are chosen such that Pp = vires
and c7¢ = aq = Bre = Bra = 0 Vg € Gd € D, then
the optimal point x* = [Vra; Vic; Ira: lig: Veo; Vip] of the
IV-ACOPF formulation defined by Equation 59-72 and 77 is
equivalent to optimum point x = [Pg; Gg; |Vp|; 6p] from
the ACOPF formulation defined by Equations 1-8.

Beyond these equivalence conditions, it is important to
recognize that the more general conditions of the [V-ACOPF
offer notable improvements. More specifically, relaxing the
condition Pp = Vite means that the demand side is
no longer a constant but rather a function of demand-bus

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voltages. The original ACOPF 1.) ignores the demand side
entirely and 2.) does not differentiate between the sale of
electric power at one voltage versus another (assuming, per-
haps incorrectly, that a customer is indifferent to voltage
magnitude). Instead, the inclusion of these demand side terms
as functions in the IV-ACOPF explicitly differentiates the
sale of clectric powcr at onc voltage versus anothcr. In a
21” century sustainable energy transition characterized by
the energy Internet of Things [36] and other demand side
resources [117], it is likely that treating the sale of only
active power integrated over time on a purely kWh basis
irrespective of voltage level is no longer viable in the long-
term. Furthermore, the use of exogeneous power demand data
Sp was an immediate source of indefinite convexity and was
an immediate source of ambiguous physical causality. The
switch to exogeneous current demand Tp data alleviates both
of these problems and a practical power systems engineer
may ask why the (original) ACOPF should continue to be
solved in light of these problems with Sp as the choice
of exogeneous data. Setting aside these computational and
practical benefits, in the end, the IV-ACOPF and ACOPF
models both effectively secure the grid. While the IV-ACOPF
formulation can be solved to global optimality in polynomial
time, the original ACOPF, at present, can not.

Vil. CONCLUSION

In conclusion, this paper has contributed a profit maximiz-
ing security-constrained current-voltage AC optimal power
flow (IV-ACOPF) model and globally optimal algorithm.
The main novelty of the work is its exclusive use of current
and voltage phasors in rectangular coordinates to maintain
the convexity of the optimization problem. The formulation
also explicitly includes both the supply and demand sides to
provide a profit maximizing rather than cost minimizing func-
tionality. The now linear network flow constraints also facili-
tate the inclusion of power factor constraints (Eq. 47 and 48)
and voltage stability constraints (Eq. 53 and 54) that are
often neglected in typical optimal power flow formulations.
This IV-ACOPF does feature a high quality “‘secant-line”
relaxation on the otherwise non-convex voltage magnitude
lower bound. This new IV-ACOPF reformulation facilitates
a straightforward polynomial-time globally optimal solution
via a Newton-Raphson algorithm. The numerical results con-
firm the globally optimal solution and return infeasible solu-
tions when the loading conditions are excessively high. As
elaborated in the discussion section, this paper opens the
door to significant future work that enables the sustainable
energy transition; including application to the operation of
distribution systems and microgrids, two-sided markets with
elastic demand, and coupling to other infrastructure sectors.
It also is likely to have direct application to generation and
transmission planning methods.

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anonymous IEEE Access reviewers for their suggestions on
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NOMENCLATURE
DECISION VARIABLES
|Vp|  Magnitudes of Voltage Phasors for
Demand Buses.
81D Phase Angle of Current Phasor for
Demand Buses.
AyD Phase Angle of Voltage Phasor for
Demand Buses.
Onn. Upper Bound on Phase Angle of Voltage
Phasor for Demand Buses.

ae Lower Bound on Phase Angle of Voltage
Phasor for Demand Buses.

J Profit Objective Functin.

MCG _ Marginal Revenue.

MRp Marginal Cost.

Pg Active Power from Generators.

Pr Active Power through Power Lines.

Oc Reactive Power from Generators.

QL Reactive Power through Power Lines.

Sc Complex Power from Generators.

Sz Complex Power through Power Lines.

Vol Imaginary Part of Voltage Phasors
for Demand Buses.
Vopr Real Part of Voltage Phasors for Demand Buses.
Vp Voltage Phasors for Demand Buses.
Vor Imaginary Part of Voltage Phasors
for Generators.

Vor Real Part of Voltage Phasors for Generators.
Vo Voltage Phasors for Generators.
Tepr Imaginary Part of Current Phasors for Demand

Bus to Demand Bus Power Lines.

Real Part of Current Phasors for Demand

Bus to Demand Bus Power Lines.

Tep Current Phasors for Demand Bus to
Demand Bus Power Lines.

ZIegr Imaginary Part of Current Phasors for
Generator Lead Lines.
Zeer Real Part of Current Phasors

for Generator Lead Lines.
Teg Current Phasors for Generator Lead Lines.
Ter Imaginary Part of Current Phasors

for Power Lines.
Ter Real Part of Current Phasors for Power Lines.

Te Current Phasors for Power Lines.
Tor Imaginary Part of Current Phasors
for Generators.
Tor Real Part of Current Phasors for Generators.
Te Current Phasors for Generators.
OTHER SYMBOLS

fQ A Generic Function.
gQ A Generic Function.
hQ A Generic Function.
k Iteration Counter.

y! A Candidate Solution.

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yt An Optimal Solution.
£Q A Lagrangian Function.
ar Lagrange Multiplies.

Ae Eigenvalues.

PARAMETERS

ARn

ORG Quadratic Cost Coefficient for Active
Power from Generators.
BRp Linear Cost Coefficient for Active
Power from Demand Buses.
BRe Linear Cost Coefficient for Active
Power from Generators.
YRp Fixed Cost Coefficient for Active
Power from Demand Buses.
VRE Fixed Cost Coefficient for Active
Power from Generators.
| Vp |" Upper Bound on Voltage
_ Magnitude of Demand Buses.
| Vp |" ~~ Lower Bound on Voltage
Magnitude of Demand Buses.
Ap Line-to-Bus Incidence Matrix.
Agp Generator-to-Demand Bus Incidence Matrix.
AG Line-to-Generator Incidence Matrix.
B Bus Susceptance Matrix.
Br Generator & Bus Susceptance Matrix.
G Bus Conductance Matrix.
Gr Generator & Bus Conductance Matrix.
Np Number of Demand Buses.
Np Number of Power Lines.
Ng Number of Generators.
Pp Active Power from Demand Buses.
PE Upper Bound on Active Power
from Generators.
pan Lower Bound on Active Power
from Generators.
ax Upper Bound on Active Power
through Power Lines.
QOp Reactive Power from Demand Buses.
OE” Upper Bound on Reactive
Power from Generators.
OE" Lower Bound on Reactive
Power from Generators.
Sp Complex Power from Demand Buses.
Y Bus Admittance Matrix.
Yr Generator & Bus Admittance Matrix.
Tpr Imaginary Part of Current
Phasors for Demand Buses.
Tpr Real Part of Current
Phasors for Demand Buses.
Tp Current Phasors for Demand Buses.
Vr Lead Line and Power Line Admittances.
SETS
d¢éD Demand Buses.
gé€gG _ Generators.
leL£ Power Lines.
l1€£p Demand Bus to Demand Bus Power Lines.
leéLG Generator Lead Lines.
Rr Feasible Region.

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Quadratic Cost Coefficient for Active
Power from Demand Buses.

Rrr Relaxed Feasible Region.

Rr

Relaxed Region.

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AMRO M. FARID (Senior Member, IEEE)
received the B.Sc. degree, in 2000, the M.Sc.
degree in mechanical engineering from MIT, in
2002, and the Ph.D. degree in engineering from the
University of Cambridge, U.K. He is currently a
Visiting Associate Professor of Mechanical Engi-
neering at MIT and an Associate Professor in
Engineering at the Thayer School of Engineer-
ing, Dartmouth College. He leads the Laboratory
‘A for Intelligent Integrated Networks of Engineering

Systems (LIINES) and has authored over 150 peer-reviewed publications in
smart power grids, energy-water nexus, electrified transportation systems,
industrial energy management, and interdependent smart city infrastructures.
He holds leadership positions in the IEEE Smart Cities Program, Control
Systems Society (CSS), the Power & Energy Society (PES), and the Systems,
Man & Cybernetics Society (SMCS).

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